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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


 KELLY A. ZUELKE,

        Plaintiff,
                                                                      Case No. 2:19-cv-74
 v.
                                                                      HON. JANET T. NEFF
 AA RECOVERY SOLUTIONS, INC. and
 PAYMENT MANAGEMENT SERVICES
 USA, LLC,

        Defendants.
 ____________________________/


                                             ORDER

       This is a civil action. Plaintiff filed a Motion for default judgment against Defendants

(ECF No. 9). The matter was referred to the Magistrate Judge, who issued a Report and

Recommendation on May 28, 2019, recommending that the Court enter default judgment in favor

of Plaintiff in the amount $6,144.70, which consists of attorney’s fees and costs totaling $4,144.70,

for which Defendants are jointly and severally liable, and statutory damages of $1,000.00 per

defendant. The Report and Recommendation was duly served on the parties. No objections have

been filed. See 28 U.S.C. § 636(b)(1). Accordingly:

       IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 12) is

APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that the Motion for default judgment against Defendants

(ECF No. 9) is GRANTED IN PART AND DENIED IN PART for the reasons stated in the Report

and Recommendation.
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      A Default Judgment consistent with this Order will issue.



Dated: July 15, 2019                                        /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge




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